Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 1 of 43 PageID 2183

     




                                                  UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                         TAMPA DIVISION



    BUDDY WEBSTER p/k/a BUDDY
    BLAZE,
                                                                        CASE NO. 8:17-cv-1795-WFJ-CPT
                  Plaintiff,
                                                                        JURY TRIAL DEMANDED
    v.

    DEAN GUITARS; ARMADILLO
    ENTERPRISES, INC.; ARMADILLO
    DISTRIBUTION ENTERPRISES, INC.;
    ESTATE OF DIMEBAG DARRELL
    ABBOTT, an unknown entity; GUITAR
    CENTER, INC., a Delaware corporation;
    RITA HANEY an individual; EMOJI
    FAME, a New York business entity of
    unknown form; and DOES 1-10 inclusive,

                  Defendants.
                                                                   /


           CORRECTED DECLARATION OF ERIC BJORGUM IN SUPPORT OF
          PLAINTIFF BUDDY WEBSTER’S (P/K/A BUDDY BLAZE) RESPONSE TO
          DEFENDANT RITA HANEY’S MOTION FOR SUMMARY JUDGEMENT1




                                                                
    1
      This Corrected Declaration is being filed without objection after consultation with
    Counsel for Movant Rita Haney. It provides exhibits that were identified but
    inadvertently omitted from the original filing, and it corrects a technical problem with the
    PDF digital file printing that made certain information unreadable after it was uploaded
    to the Court’s website.

                                                                   1 
     
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    I, Eric Bjorgum, declare as follows:

              1.      I am counsel for Plaintiff Buddy Webster in this action. I am submitting

        this Corrected Declaration in Support of Plaintiff’s Response to Defendant Rita Haney’s

        Motion for Summary Judgment. All facts contained herein are within my personal

        knowledge and, if called as a witness, I could and would competently testify thereto.

              2.      Attached hereto as Exhibit A is a true and correct copy of an article from a

        Guitar World article by Chris Gill of Rita Haney and Dimebag Darrell Abbott, in which

        Haney is identified as “the Executor” of the Estate of Darrell Abbott.

              3.      Attached hereto as Exhibit B is a true and correct copy of the Declaration

        of Kimberly Davis in Support of Defendants’ Motion to Transfer Venue, Dkt. No. 16-2.

              4.      Attached hereto as Exhibit C is a true and correct copy of the Declaration

        of Kris Beecher P/K/A Kris Cremain in Support of Plaintiff’s Opposition to Defendants’

        Motion to Transfer, Dkt. No. 22.

              5.      Attached hereto as Exhibit D is a true and correct copy of Rita Haney’s

        Objections and Responses to Buddy Webster’s First Set of Interrogatories. This


                                                       2 
     
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        document is filed under seal.

                6.    Attached hereto as Exhibit E is a true and correct copy of excerpts from

        the May 10, 2018 deposition of Michael William Trujillo. This document is filed under

        seal.

                7.    Attached hereto as Exhibit F is a true and correct copy of excerpts from

        the June 22, 2018 deposition of Rita Haney. This document is filed under seal.

                8.    Attached as Exhibit G is a true and correct copy of sales figures from

        Armadillo. Those are under seal.

                9.    Filed herewith [lodged separately] as Exhibit H is a true and correct copy

        of a video of Ms. Haney at NAMM signing the guitar while Mr. Webster is in the

        background.

                10.   Filed herewith as Exhibit I [lodged separately] is a true and correct copy

        of a video of Ms. Haney promoting a “shredder” contest for Dean Guitars.

                11.   Filed herewith as Exhibit J is a true and correct copy [lodged separately]

        of a video from “Monkey Rocks” where Ms. Haney discusses her merchandising work

        with “Dimebag Hardware.”

                12.   Filed herewith was Exhibit K is a true and correct copy of a documents

        from the Arizona Secretary of State showing Haney listed as the contact for the Estate of

        Darrell Abbott.

                13.   Filed herewith as Exhibit L is a true and correct copy of documents from

        the trademark office showing Haney signing a trademark application related to Abbott.

                14.   Attached hereto as Exhibit M is a true and correct copy of deposition


                                                       3 
     
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        pages from the deposition of Kim Davis. This document is filed under seal.

              15.     Attached hereto as Exhibit N is a true and correct copy of the email from

        Haney to Davis telling Davis to resign the Dean Guitars contract.

              16.     Attached hereto as Exhibit O is a true and correct copy of advertisements

        regarding the various guitars that have been made using this image. There is (i) the 2005

        “limited” reissue; (ii) the unlimited, low priced Cowboy From Hell; (iii) the “Rust From

        Hell” with a worn graphic to make it look like a relic; (iv) the “limited” exact copy of

        the DFH; and (v) the “Black Bolt.’

              17.     Attached hereto as Exhibit P is a true and correct copy of the “Dimebag

        Hardware” shop web page operated by Ms. Haney for a time.

              18.     Attached hereto as Exhibit Q is a true and correct copy of the drawing of

        Darrell Abbott claiming that the DFH is “limited.”

              19.     Attached hereto as Exhibit R is a true and correct copy of the drawing of

        the email showing Haney is one of the “people in the know.”

              20.     Attached hereto as Exhibit S are the texts from Dean Zelinsky and Haney

        offering to sell more guitars.

              I declare under penalty of perjury under the laws of the United States that the

        foregoing is true and correct.

              Executed at Pasadena, California, September 28, 2018.




                                             _______________________________________
                                                     Eric Bjorgum


                                                        4 
     
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                     Exhibit A
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 6 of 43 PageID 2188
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Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 8 of 43 PageID 2190
PT Document 199 Filed 10/06/18
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Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 11 of 43 PageID 2193
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 12 of 43 PageID 2194
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 13 of 43 PageID 2195
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 14 of 43 PageID 2196
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 15 of 43 PageID 2197
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                     Exhibit B
Case
Case 2:17-cv-03027-JFW-MRW
     8:17-cv-01795-WFJ-CPT Document
                            Document199
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                                                 06/30/17 Page
                                                           Page171 of
                                                                   of 43
                                                                      3 PageID
                                                                         Page ID2199
                                                                                 #:90




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      Facsimile: 202.408.4400
   12
      Attorneys for Defendants
   13
                          UNITED STATES DISTRICT COURT
   14
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   15
   16
      BUDDY WEBSTER p/k/a BUDDY                    Case No. 2:17-cv-03027-JFW-MRW
   17 BLAZE,
                                                   DECLARATION OF KIMBERLY
   18                   Plaintiff,                 DAVIS IN SUPPORT OF
                                                   DEFENDANTS’ MOTION TO
   19              v.                              TRANSFER VENUE
   20 DEAN GUITARS; ARMADILLO                      Filed concurrently with Motion to
      ENTERPRISES, INC.; ARMADILLO                 Transfer Venue and Declaration of
   21 DISTRIBUTION ENTERPRISES,                    Evan Rubinson
      INC.; ESTATE OF DIMEBAG
   22 DARRELL ABBOTT, an unknown                   Judge: Hon. John F. Walter
      entity; and DOES 1-10 inclusive,             Date: July 31, 2017
   23                                              Time: 1:30 P.M.
                   Defendants.                     Courtroom: 7A
   24
                                                   Trial Date: None Set
   25
   26
   27
   28
        314841.1                                                Case No. 2:17-cv-03027-JFW-MRW
        DECLARATION OF KIMBERLY DAVIS IN SUPPORT OF DEFENDANTS’ MOTION TO TRANSFER VENUE
Case
Case 2:17-cv-03027-JFW-MRW
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                                                                         Page ID2200
                                                                                 #:91




    1                           DECLARATION OF KIMBERLY DAVIS
    2              I, Kimberly Zide Davis, declare as follows:
    3              1.    I am the Manager of the Estate of Dimebag Darrell Abbott. I submit
    4 this Declaration in support of Defendants’ Motion to Transfer Venue to the U.S.
    5 District Court for the Middle District of Florida. Except where otherwise stated, I
    6 have personal knowledge of the facts set forth in this Declaration and, if called as a
    7 witness, could and would testify competently to such facts under oath.
    8              2.    For over 23 years, I have been the Manager of the heavy-metal rock
    9 band Pantera and its iconic guitarist Dimebag Darrell Abbott.
   10              3.    On December 8, 2004, Dimebag Darrell Abbott was tragically shot and
   11 killed on stage by a deranged fan.
   12              4.    Since 2013, I have served as the Manager of Dimebag Darrell Abbott’s
   13 Estate (the “Estate”). I reside in New Jersey.
   14              5.    Vincent Paul Abbott, Dimbebag Darrell Abbott’s brother, is the sole
   15 administrator of the Estate. He resides in Texas.
   16              6.    Vincent entered into an agreement with Armadillo Enterprises, Inc.
   17 concerning the guitar design at issue in this case. Paragraph 31 of that agreement
   18 provides that the “Endorsement Agreement shall be governed by and construed in
   19 accordance with the laws of the State of Florida applicable to contracts entered into
   20 and wholly to be performed within the State of Florida.”
   21              7.    Plaintiff’s Complaint claims that “on information and belief, at least
   22 one administrator of the ESTATE OF DIMEBAG DARRELL ABBOTT resides in
   23 this District.” This is incorrect. The Estate does not have any officers,
   24 administrators, or employees in California.
   25              8.    The Complaint may be referring to Dimebag Darrell Abbott’s former
   26 girlfriend Rita Haney, who, upon information and belief, may reside in California.
   27 Ms. Haney is not an officer/administrator of the Estate, and she does not participate
   28 in managing the Estate.
        314841.1
                                                1               Case No. 2:17-cv-03027-JFW-MRW
        DECLARATION OF KIMBERLY DAVIS IN SUPPORT OF DEFENDANTS’ MOTION TO TRANSFER VENUE
Case
Case 2:17-cv-03027-JFW-MRW
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Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 20 of 43 PageID 2202




                     Exhibit C
Case 8:17-cv-01795-WFJ-CPT
     2:17-cv-03027-JFW-MRW Document
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                                              10/06/18 Page 1
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                                                                              2203



    1
        KARISH & BJORGUM, PC
    2   Eric Bjorgum (Bar No. 198392)
        119 E. Union St., Suite B
    3   Pasadena, California 91103
        Telephone: (213) 785-8070
    4   Facsimile: (213) 995-5010
    5
         Attorneys for Plaintiff BUDDY WEBSTER
    6
    7
                           UNITED STATES DISTRICT COURT
    8
                          CENTRAL DISTRICT OF CALIFORNIA
    9
   10
   11                                             Case No. 2-cv-17-3027-JFW(MRW)
         BUDDY WEBSTER p/k/a BUDDY
   12    BLAZE,                                   DECLARATION OF KRIS
                                                  BEECHER P/K/A KRIS CREMAIN
   13                                             IN SUPPORT OF PLAINTIFF’S
                     Plaintiff,
                                                  OPPOSITION TO DEFENDANTS’
   14                                             MOTION TO TRANSFER
               v.
   15
   16    DEAN GUITARS; ARMADILLO
         ENTERPRISES, INC.; ARMADILLO
   17
         DISTRIBUTION ENTERPRISES,
   18    INC.; ESTATE OF DIMEBAG
   19    DARRELL ABBOTT, an unknown
         entity; and DOES 1 – 10 inclusive.
   20
   21                Defendants.

   22
   23
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                                              1
                                  DECLARATION OF KRIS BEECHER
Case 8:17-cv-01795-WFJ-CPT
     2:17-cv-03027-JFW-MRW Document
                            Document199
                                     22 Filed 07/10/17
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    1        1.     I am a resident of Arizona and a prior vice president, general manager
    2   and part owner of Krank Amplification, LLC. My legal name is Kris Beecher, but I
    3   have performed in a band and worked professionally under the name Kris Cremain.
    4   I am submitting this Declaration in Opposition to Defendants’ Motion to Transfer
    5   this matter. All facts contained herein are within my personal knowledge and, if
    6   called upon as a witness, I could and would competently testify thereto.
    7        2.     Krank Amplification, LLC (“Krank”) was a high-end guitar amplifier
    8   company based in Arizona. It went out of business in 2013. While I was a Krank, I
    9   had many duties, including overseeing some of the brand development and
   10   partnership opportunities.
   11        3.     Before “Dimebag” Darrell Abbott passed away, Krank was involved in
   12   developing a “signature” guitar amp for Abbott. I was closely involved in that
   13   project. Abbott played Krank amps and had specific hardware setting preferences
   14   for his amplifiers and speaker cabinets.
   15        4.     Abbott passed away before the Krank amp was released, though the
   16   project was mostly done. Abbott also had partial ownership of the company. After
   17   he passed away, the contact person for his estate was typically Rita Haney. She
   18   received invoices and royalty statements.
   19        5.     90% of my conversations were with Rita Haney, Abbott’s long-time
   20   girlfriend. I was involved in negotiations to release it and related products. As far
   21   as I understood, she negotiated on behalf of the estate. There were references to
   22   Haney being Abbott’s widow, and, not being familiar with common law marriage
   23   in Texas, I assumed that was the situation.
   24        6.     I rarely spoke with Abbott’s brother Vinnie Paul Abbott, though one of
   25   the other partners did. At one point, Rita Haney asked us to release a less
   26   expensive “Dimebag” branded amplifier, in the sub-$200 range. Krank refused
   27   because the quality of the amplifier was not up to our standards, and we did not
   28   want to put out a “Dimebag” amp that Abbott had not played or approved.

                                                   2
                                  DECLARATION OF KRIS BEECHER
Case 8:17-cv-01795-WFJ-CPT
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                                                                              2205



    1        7.     I left Krank in 2011. Up until the time of my departure, quarterly
    2   statements were sent out to Abbott’s estate, with copies sent to Rita Haney.
    3        I declare under penalty of perjury under the laws of the United States that the
    4   foregoing is true and correct.
    5        Executed at Tuba City, Arizona on July 9, 2017.
    6
    7                                    _______________________________________
    8                                         Kris Beecher
    9
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                                                3
                                  DECLARATION OF KRIS BEECHER
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 24 of 43 PageID 2206




                     Exhibit D
                                Under Seal

            Objections of Rita Haney to Buddy Webster's
                     First Set of Interrogatories
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 25 of 43 PageID 2207




                        Exhibit E
                                Under Seal

                Excerpts from May 10, 2018 Deposition
                 Transcript of Michael William Trujillo
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 26 of 43 PageID 2208




                        Exhibit F
                                  Under Seal

                  Excerpts from May 10, 2018 Deposition
                         Transcript of Rita Haney
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 27 of 43 PageID 2209




                       Exhibit G
                                 Under Seal

                      Sales Figures from Armadillo
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 28 of 43 PageID 2210




                       Exhibit H
                                Video Clip

                          (Lodged Separately)

  True and correct copy of a video of Ms. Haney at NAMM
  signing the guitar while Mr. Webster is in the background
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 29 of 43 PageID 2211




                         Exhibit I
                                   Video Clip

                             (Lodged Separately)

            True and correct copy of a video of Ms. Haney
           promoting a “shredder” contest for Dean Guitars
  Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 30 of 43 PageID 2212




                          Exhibit J
                                   Video Clip

                             (Lodged Separately)

True and correct copy of a video from “Monkey Rocks” where Ms.
Haney discusses her merchandising work with “Dimebag Hardware”
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 31 of 43 PageID 2213




                       Exhibit K
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 32 of 43 PageID 2214
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 33 of 43 PageID 2215
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 34 of 43 PageID 2216
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 35 of 43 PageID 2217
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 36 of 43 PageID 2218
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 37 of 43 PageID 2219
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 38 of 43 PageID 2220
Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 39 of 43 PageID 2221




                        Exhibit L
        Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 40 of 43 PageID 2222


To:                   Getcha Pull, Incorporated (iamdrunk@sbcglobal.net)
Subject:              TRADEMARK APPLICATION NO. 78453441 - DIMEBAG "DH" HARDWARE - N/A
Sent:                 11/18/05 11:57:46 AM
Sent As:              ECOM106@USPTO.GOV
Attachments:

                                  UNITED STATES PATENT AND TRADEMARK OFFICE

                 SERIAL NO:          78/453441

                 APPLICANT:          Getcha Pull, Incorporated
                                                                                                    *78453441*
                 CORRESPONDENT ADDRESS:                                                             RETURN ADDRESS:
                         GETCHA PULL, INCORPORATED                                                  Commissioner for Trademarks
                         PO BOX 309                                                                 P.O. Box 1451
                                                                                                    Alexandria, VA 22313-1451
                         BURLESON TX 76097-0309



                 MARK:       DIMEBAG "DH" HARDWARE

                 CORRESPONDENT’S REFERENCE/DOCKET NO : N/A                                          Please provide in all correspondence:

                                                                                                    1. Filing date, serial number, mark and
                 CORRESPONDENT EMAIL ADDRESS:                                                          applicant's name.
                                                                                                    2. Date of this Office Action.
                          iamdrunk@sbcglobal.net                                                    3. Examining Attorney's name and
                                                                                                       Law Office number.
                                                                                                    4. Your telephone number and e-mail
                                                                                                       address.




                                                                 OFFICE ACTION

Serial Number 78/453441

Applicant’s response, filed on 11/16/05 via the Trademark Electronic Application System (TEAS), is incomplete because the only data in the
response form transmitted to the USPTO is the electronic signature of the person who submitted the form.

To avoid abandonment, applicant must submit a complete response within (1) the time remaining in the six month period for response to the last
Office action, or (2) thirty days from the mailing date of this letter, whichever is longer. 37 C.F.R. §2.65(b); TMEP §718.03(b). This does not
extend the time for filing a notice of appeal. 37 C.F.R. §2.64(b); TMEP §§715.03 and 715.03(c).

If applicant files its response via TEAS, applicant should review the resulting e-mail acknowledgement to ensure that all the data entered by
applicant in the response appears therein. If any data does not appear in the e-mail acknowledgement, then the Office has not received that data
and the response may not be a complete response.




                                             /G. Mayerschoff/
                                             Trademark Attorney, LO-106
                                             Hrs. 8:30 am- 6pm
                                             571-272-9325
                                             Fax- 571-273-9106
       Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 41 of 43 PageID 2223

HOW TO RESPOND TO THIS OFFICE ACTION:
   ONLINE RESPONSE: You may respond formally using the Office’s Trademark Electronic Application System (TEAS) Response to
   Office Action form (visit http://www.uspto.gov/teas/index.html and follow the instructions, but if the Office Action has been issued via
   email, you must wait 72 hours after receipt of the Office Action to respond via TEAS).
   REGULAR MAIL RESPONSE: To respond by regular mail, your response should be sent to the mailing return address above and include
   the serial number, law office number and examining attorney’s name in your response.

STATUS OF APPLICATION: To check the status of your application, visit the Office’s Trademark Applications and Registrations Retrieval
(TARR) system at http://tarr.uspto.gov.

VIEW APPLICATION DOCUMENTS ONLINE: Documents in the electronic file for pending applications can be viewed and downloaded
online at http://portal.uspto.gov/external/portal/tow.

GENERAL TRADEMARK INFORMATION: For general information about trademarks, please visit the Office’s website at
http://www.uspto.gov/main/trademarks.htm

FOR INQUIRIES OR QUESTIONS ABOUT THIS OFFICE ACTION, PLEASE CONTACT THE ASSIGNED EXAMINING
ATTORNEY SPECIFIED ABOVE.
           Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 42 of 43 PageID 2224

PTO Form 1957 (Rev 5/2006)
OMB No. 0651-0050 (Exp. 04/2009)


                                                       Response to Office Action


                                                 The table below presents the data as entered.

                                   Input Field                                              Entered
             SERIAL NUMBER                                   78453441
             LAW OFFICE ASSIGNED                             LAW OFFICE 106
             SIGNATURE SECTION
             RESPONSE SIGNATURE                              /Rita Haney-Abbott/
             SIGNATORY NAME                                  Rita Haney-Abbott
             SIGNATORY POSITION                              Vice President
             SIGNATURE DATE                                  11/16/2005
             FILING INFORMATION SECTION
             SUBMIT DATE                                     Wed Nov 16 04:38:00 EST 2005
                                                             USPTO/ROA-XX.XX.XX.XX-200
                                                             51116043800391652-7845344
             TEAS STAMP                                      1-32059742cc36189c7f30db7
                                                             0d7e55e7f2-N/A-N/A-200511
                                                             16042005451823




PTO Form 1957 (Rev 5/2006)
OMB No. 0651-0050 (Exp. 04/2009)




                                                          Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 78453441 has been amended as follows:

Response Signature

Signature: /Rita Haney-Abbott/ Date: 11/16/2005
Signatory's Name: Rita Haney-Abbott
Signatory's Position: Vice President

Serial Number: 78453441
Internet Transmission Date: Wed Nov 16 04:38:00 EST 2005
TEAS Stamp: USPTO/ROA-XX.XX.XX.XX-200511160438003916
52-78453441-32059742cc36189c7f30db70d7e5
5e7f2-N/A-N/A-20051116042005451823
        Case 8:17-cv-01795-WFJ-CPT Document 199 Filed 10/06/18 Page 43 of 43 PageID 2225


To:                    Getcha Pull, Incorporated (iamdrunk@sbcglobal.net)
Subject:               TRADEMARK APPLICATION NO. 78453441 - DIMEBAG "DH" HARDWARE - N/A
Sent:                  9/13/05 11:42:20 AM
Sent As:               ECOM106@USPTO.GOV
Attachments:

                                   UNITED STATES PATENT AND TRADEMARK OFFICE

                  SERIAL NO:          78/453441

                  APPLICANT:          Getcha Pull, Incorporated
                                                                                                       *78453441*
                  CORRESPONDENT ADDRESS:                                                               RETURN ADDRESS:
                          GETCHA PULL, INCORPORATED                                                    Commissioner for Trademarks
                          PO BOX 309                                                                   P.O. Box 1451
                                                                                                       Alexandria, VA 22313-1451
                          BURLESON TX 76097-0309



                  MARK:       DIMEBAG "DH" HARDWARE

                  CORRESPONDENT’S REFERENCE/DOCKET NO : N/A                                            Please provide in all correspondence:

                                                                                                       1. Filing date, serial number, mark and
                  CORRESPONDENT EMAIL ADDRESS:                                                            applicant's name.
                                                                                                       2. Date of this Office Action.
                           iamdrunk@sbcglobal.net                                                      3. Examining Attorney's name and
                                                                                                          Law Office number.
                                                                                                       4. Your telephone number and e-mail
                                                                                                          address.




                                                                  OFFICE ACTION
RESPONSE TIME LIMIT: TO AVOID ABANDONMENT, THE OFFICE MUST RECEIVE A PROPER RESPONSE TO THIS OFFICE
ACTION WITHIN 6 MONTHS OF THE MAILING OR E-MAILING DATE.


Serial Number 78/453441

This application has been reinstated by the Commissioner for Trademarks. The Office records have been searched again and no similar
registered or pending mark has been found that would bar registration under Trademark Act Section 2(d), 15 U.S.C. §1052(d). TMEP §704.02.

Applicant has stated that it did not receive the previous Office action. The trademark examining attorney has determined that all the issues
raised in the Office action are still valid. If the previous Office action contained fee information or requirements, please confirm current fee
information at http://www.uspto.gov.

A copy of the Office action along with any supporting documents, can be viewed and downloaded online at
http://portal.uspto.gov/external/portal/tow. Enter the serial number of this application in the box labeled NUMBER and click on the SUBMIT
button. The Office action can then be viewed by clicking the link labeled “Offc Action Outgoing” next to the Mail/Create Date of 12/28/04 in
Trademark Document Retrieval (TDR). If applicant has any problems viewing the Office action, please contact the trademark examining
attorney.

Applicant has 6 months from the date of this Office action to respond to the issues raised in the previous Office action.
